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                              THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

   ROTHSCHILD BROADCAST                  §
   DISTRIBUTION SYSTEMS, LLC,            §
                                         §
         Plaintiff,                      §                     Case No: 1:21-cv-00469-NYW
                                         §
   vs.                                   §
                                         §
   ENVYSION, INC.,                       §
                                         §
         Defendant.                      §
   _____________________________________ §

                       JOINT STIPULATION AND ORDER OF DISMISSAL

          Plaintiff Rothschild Broadcast Distribution Systems, LLC, and Defendant Envysion,

   Inc., by their respective undersigned counsel, hereby STIPULATE and AGREE as follows:

   1.     All claims asserted by the Plaintiff in this Action are dismissed with prejudice Fed. R.

   Civ. P. 41(a)(1)(A)(ii);

   2.     Each party shall bear its own costs and attorneys’ fees with respect to the matters

   dismissed herein;

   This Stipulation and Order shall finally resolve the Action between the parties.
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   Dated: April 26, 2021                   Respectfully submitted,
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